                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DMSION
                                Case No. 4:20-cv-00232-D


SUNTECK TRANSPORT COMPANY, LLC,

                        Plaintiff,
                                                               DEFAULT JUDGMENT
        V.



MARTIN EXPRESS LLC,

                        Defendant.

        This matter came before the Court on Plaintiff Sunteck Transport Company, LLC's

Motion for Default Judgment pursuant to Fed. R. Civ. P. 55(b)(1 ).

        It appears to the Court, upon review of the Motion and its attachments, the Complaint,

and the Court file for this action that:

        1.       Plaintiff filed its complaint on December 15, 2020, and this Court issued

summons thereon addressed to Defendant Martin Express LLC on December 16, 2020.

        2.       Defendant Martin Express LLC was served with the summons and complaint not

later than December 18, 2020, as evidenced by the Affidavit of Service filed with this Court.

[D.E. 6.]

        3.       Pursuant to Fed. R. Civ. P. 12(a)(l)(A)(i), Defendant Martin Express LLC was

required to serve a responsive pleading or motion on or before January 11, 2021.

        4.       Defendant Martin Express LLC, a limited liability company, is not now, nor was

it at any time pertinent to this action, a member of any branch of the United States military.

        5.       Defendant Martin Express LLC, a limited liability company, is not now, nor was

it at any time pertinent to this action, an infant, incompetent, or otherwise under disability.




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       6.       Defendant Martin Express LLC failed to file with the Court an answer, pleading,

or motion responsive to the Complaint prior to January 11, 2021, or at any time thereafter.

       7.       Pursuant to Fed. R. Civ. P. 55(a), entry of default was entered against Defendant

Martin Express LLC on February 9, 2021. [D.E. 8.]

       8.       Plaintiff is entitled to default judgment against Defendant Martin Express LLC as

a matter of law.

       WHEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED,

pursuant to Fed. R. Civ. P. 55(b), that Default Judgment be entered against Defendant Martin

Express LLC as follows:

       1.       In the principal amount of$42,400.00;

       2.       Interest at the rate of $9.29 per day from and after August 27, 2020, until the date

of entry of judgment; and,

       3.       Interest on the balance ofthis Default Judgment at the legal rate from and after

the date of entry of Judgment.

       SO ORDERED. This the Ji day of March, 2021.




                                                      United States District Judge




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